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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

Plaintiff
CIVIL ACTION NO: 3:15-cv-2328
vs. Hon.
PUERTO RICO INDUSTRIAL
DEVELOPMENT COMPANY,

 

Defendant/Third Party Plaintiff

 

SECOND MOTION REQUESTING WITHDRAWAL OF LEGAL REPRESENTATION
OF THIRD PARTY DEFENDANT, JUAN OROZCO LTD.., INC.
Comes now Third Party Defendant, JUAN OROZCO LTD. INC., through its undersigned
attorney, and respectfully STATES and PLEADS as follows:

1- That Third Party Defendant, Juan Orozco Ltd., Inc. has requested from the undersigned
attorney to withdraw his legal representation in the case of caption. Thus a “Motion
Withdrawing Legal Representation of Third Party Defendant, Juan Orozco LTD, Inc.”
[96] was filed on May 16, 2017. The same was denied [97].

2- That the undersigned attorney has not been able to contact with Mr. Juan Orozco,
principal, since May 16, 2017. Our investigations show that our client, Third Party
Defendant, Juan Orozco LTD. Inc., was liquidated in the Puerto Rico State Department
on February 19, 2020, See Exhibit A. Thus, our client no longer exists.

3- Furthermore, we have searched in the Puerto Rico Demographic Registry and came into
knowledge that Mr. Juan Orozco, the principal and owner of Juan Orozco LTD, Inc.

passed away on February 15, 2020. Please find attached Death Certificate as Exhibit B.
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4- That given the above circumstances, the undersigned attorney respectfully reiterates the
request to be relieved from his representation of Third Party Defendant Juan Orozco
LTD, Inc.

5- The undersigned attorney informs that Juan Orozco Ltd., Inc., has the following address,

telephone, and email:

Juan Orozco, Ltd., Inc.

Villa Universitaria

Calle 2 #12, Humacao, PR 00791

Tel. (787) 861-1045

Email: arajuez(@juanorozcoltdinc.com

WHEREFORE, it is respectfully requested from this Honorable Court to allow the withdrawal
of legal representation of the undersigned from Third Party Defendant, Juan Orozco, Ltd., Inc.
RESPECTFULLY SUBMITED, in San Juan Puerto Rico this 31 day of January, 2022.
I HEREBY CERTIFY that on same date, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF System, which automatically notices all attorneys of
record.
GONZALEZ BADILLO LAW OFFICE
1055 J. F. KENNEDY AVENUE SUITE 303
SAN JUAN PUERTO RICO 00920-1713
TEL. (787) 749-0233 B (787) 782-9440
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s/ Oscar Gonzalez Badillo
USDC No. 124110
